            Case 2:18-cv-01777-RSM Document 14 Filed 09/07/21 Page 1 of 3




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 6
                          UNITED STATES DISTRICT COURT
 7                       WESTERN DISTRICT OF WASHINGTON

 8
     NIKOLAI WEDEKIND, derivatively on
 9   behalf of COSTCO WHOLESALE                 Civil Action No. 2:18-cv-01777-RSM
     CORPORATION,
10                                 Plaintiff,
11   v.
12   HAMILTON E. JAMES, SUSAN
     DECKER, KENNETH D. DENMAN,
13   RICHARD A. GALANTI, W. CRAIG               NOTICE OF VOLUNTARY DISMISSAL
     JELINEK, RICHARD M. LIBENSON,
14   JOHN W. MEISENBACH, CHARLES T.
     MUNGER, JEFFREY S. RAIKES, JOHN
15   W. STANTON, and MARY AGNES
     WILDEROTTER,
16

17
                                Defendants,
18
     and
19
     COSTCO WHOLESALE
20   CORPORATION,
21                       Nominal Defendant.
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     NOTICE OF VOLUNTARY DISMISSAL - 1-            BADGLEY MULLINS TURNER                   PLLC

                                                        19929 Ballinger Way NE, Suite 200
                                                              Shoreline, WA 98155
                                                                TEL 206.621.6566
                                                                FAX 206.621.9686
              Case 2:18-cv-01777-RSM Document 14 Filed 09/07/21 Page 2 of 3




                               NOTICE OF VOLUNTARY DISMISSAL
 1

 2          PLEASE TAKE NOTICE THAT Plaintiff Nikolai Wedekind hereby serves this notice of

 3   voluntary dismissal of the above-captioned action (the “Action”) without prejudice pursuant to

 4   Fed. R. Civ. P. Rule 41 (a)(1)(A)(i) with each party to bear their own costs. No defendant has
 5   served an answer or motion for summary judgment in the Action.
 6

 7                                                  BADGLEY MULLINS TURNER PLLC
      Dated: September 7, 2021
 8                                                  s/ Duncan C. Turner
 9                                                  DUNCAN C. TURNER, WSBA No. 20597
                                                    19929 Ballinger Way NE, Suite 200
10                                                  Seattle, Washington, 98155
                                                    Telephone: (206) 621-6566
                                                    Email: dturner@badgleymullins.com
11

12
                                                    THE WEISER LAW FIRM, P.C.
13                                                  JAMES M. FICARO (pro hac vice)
                                                    Four Tower Bridge
14                                                  200 Barr Harbor Dr., Suite 400
                                                    West Conshohocken, PA 19428
15                                                   Email: jmf@weiserlawfirm.com
16                                                  Counsel for Plaintiff

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      NOTICE OF VOLUNTARY DISMISSAL - 2-                    BADGLEY MULLINS TURNER                   PLLC

                                                                 19929 Ballinger Way NE, Suite 200
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                                                                         TEL 206.621.6566
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              Case 2:18-cv-01777-RSM Document 14 Filed 09/07/21 Page 3 of 3




                                     CERTIFICATE OF SERVICE
 1

 2          I hereby certify that on September 7, 2021, I electronically filed the foregoing with the

 3   Clerk of the Court using the CM/ECF system which will send notification of such filing to all

 4   parties for the above-entitled action.
 5
                                                  s/ Yonten Dorjee
 6
                                                  Yonten Dorjee, Paralegal
 7                                                BADGLEY MULLINS TURNER PLLC
                                                  19929 Ballinger Way NE, Suite 200
 8                                                Seattle, WA 98155
                                                  Telephone: 206-621-6566
 9                                                Email: ydorjee@badgleymullins.com
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      NOTICE OF VOLUNTARY DISMISSAL - 3-                    BADGLEY MULLINS TURNER                    PLLC

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